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                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
              v.                    )
                                    )                       CRIMINAL NO. 19-10080
DAVID SIDOO, et al                  )
            Defendants              )
                                    )
____________________________________)

    JOINT STATUS REPORT REGARDING MOTION FOR RULE 17c SUBPOENA

        Now comes the defendant Robert Zangrillo and non-party University of Southern

California (“USC”), by and through undersigned counsel, and respectfully submit this Status

Report pursuant to the Court’s order. Shortly after the September 18, 2019 hearing in this

matter, Mr. Zangrillo and USC commenced settlement negotiations, with the goal of agreeing to

the production of a subset of the subpoenaed documents in exchange for the staying of and

ultimate withdrawal of the current or any revised Rule 17(c) subpoena, or in the alternative of

reaching a partial resolution that would result in a narrowing of the disputed subpoena items that

at least in part accommodated USC’s desire to reduce the burden of the required searches and to

protect the privacy of its students, applicants, and donors. Mr. Zangrillo has maintained

throughout that, for the reasons stated in his opposition to USC’s motion to quash, Dkt. 546, at

the September 18 hearing, and in his ex parte submission provided to the Court on October 7, at

least a significant amount of the subpoenaed documents will likely be material, and even

essential, to his future trial defenses.
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       Mr. Zangrillo and USC have reached agreement on many of the subjects raised by the

original subpoena. The parties are continuing to engage in good-faith negotiations, principally

regarding one central aspect of the subpoena, which they hope to conclude next week. In the

event that an agreement is reached on this remaining point, it would result in Mr. Zangrillo’s

agreement to stay the subpoena or any amended subpoena subject to his review of the documents

produced by USC, while reserving his right to request further documents if there are

inadequacies in the production, or if the government raises evidentiary objections to their future

admission other than to their relevance. The anticipated production will occur over an agreed

schedule and the receipt of the documents will be subject to a protective order that will not

preclude the defendant from fulfilling his reciprocal discovery obligations. Mr. Zangrillo has

also reserved his right to subpoena USC employees and further documents if he makes a

determination of necessity at or before trial.



                                                     Respectfully Submitted,
                                                     Robert Zangrillo
                                                     By His Attorney,

                                                     /s/ Martin G. Weinberg
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                                                     University of Southern California
                                                     By Its Attorneys,
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Dated: October 11, 2019


                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, October 11, 2019, a copy of the
foregoing document has been served via Electronic Court Filing System on all registered
participants.

                                                     /s/ Martin G. Weinberg




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